Case No. 1:20-cv-00078-CMA-KAS Document 142-12 filed 10/20/23 USDC Colorado pg 1
                                     of 6




      · · · · · ·****· CONFIDENTIAL· ****· DO NOT DISCLOSE· ****
      ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
      · · · · · · · · · · FOR THE DISTRICT OF COLORADO
      ·2
      · · ·Case No. 1:20-cv-00078-CMA-SKC
      ·3· ·_______________________________________________________

      ·4· · · · · · · · · · · ****CONFIDENTIAL****
      · · ·VIDEOTAPE DEPOSITION OF:· A.C. - MARCH 29, 2022
      ·5· ·_______________________________________________________

      ·6· ·A.C. AS PARENT AND NEXT FRIEND OF MINOR S.T.C.,

      ·7· ·PLAINTIFFS,

      ·8· ·V.

      ·9· ·JEFFERSON COUNTY R1 SCHOOL DISTRICT ,JEFF GOMEZ,
      · · ·INDIVIDUALLY, AND WILLIAM CARLIN, INDIVIDUALLY,
      10
      · · ·DEFENDANTS.
      11· ·_______________________________________________________

      12· · · · · · PURSUANT TO NOTICE AND AGREEMENT, THE

      13· ·VIDEOTAPE DEPOSITION OF A.C. was taken on behalf of the

      14· ·Defendant, via Zoom videoconferencing, on

      15· ·March 29, 2022 at 9:12 a.m., before Kimberly A. Ritter,

      16· ·Registered Professional Reporter and Notary Public

      17· ·within Colorado.

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Case No. 1:20-cv-00078-CMA-KAS Document 142-12 filed 10/20/23 USDC Colorado pg 2
                                     of 6



                                                                         Page 2
      ·1· · · · · · · · · · ·A P P E A R A N C E S

      ·2· ·For the Plaintiff:· · · ·Edward Milo Schwab, Esq.
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      · · · · · · · · · · · · · · · Denver, CO· 80210
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      ·5· ·For the Defendant:· · · ·M. Gwyneth Whalen, Esq.
      · · · · · · · · · · · · · · · Elliott V. Hood, Esq.
      ·6· · · · · · · · · · · · · · Anne L. Stuller, Esq.
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      · · · · · · · · · · · · · · · Astuller@celaw.com
      10
      · · ·Videographer:· · · · · · Mark Rogers
      11

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Case No. 1:20-cv-00078-CMA-KAS Document 142-12 filed 10/20/23 USDC Colorado pg 3
                                     of 6



                                                                         Page 3
      ·1· · · · · · · · · · · · · · · INDEX

      ·2· ·EXAMINATION OF ANNA TANKERSLEY-CLARK:· · · · · · ·PAGE
      · · ·March 29, 2022
      ·3
      · · ·By Mr. Hood· · · · · · · · · · · · · · · · · · · · · 6
      ·4
      · · ·INITIAL REFERENCE DEPOSITION EXHIBITS:· · · · · · PAGE
      ·5
      · · ·Exhibit 13· · 5 Emails July 24 (STC 0001-0002)· · · 25
      ·6
      · · ·Exhibit 14· · 6 Email Aug 3 responding to July 24· ·34
      ·7· · · · · · · · ·Email (JCSD 735)

      ·8· ·Exhibit 15· · 7 2017.08.24 Email MacDonald from AC· 41
      · · · · · · · · · ·student names redacted (JCSD 00756)
      ·9
      · · ·Exhibit 16· · 8 2017.08.24 Email to teachers· · · · 43
      10· · · · · · · · ·(JCSD 00755)

      11· ·Exhibit 17· · 22 WRPD Case Report 17-04801· · · · · 49

      12· ·Exhibit 18· · 9 2017.11.01 Letter Re - Title IX· · ·72
      · · · · · · · · · ·Outcome Notice to Anna Tankersley-Clark
      13· · · · · · · · ·(JCSD 00761-763)

      14· ·Exhibit 19· · 10 JCSD 129-134, 779· · · · · · · · · 77

      15· ·Exhibit 20· · 12 AC letter re RR (STC 0052-0054)· · 79

      16· ·Exhibit 21· · 18. Jefferson Center specific· · · · 115
      · · · · · · · · · ·records updated copy
      17
      · · ·Exhibit 22· · 24. Trinidad PD reports· · · · · · · 157
      18· · · · · · · · ·(JCSD02017-02189) (Gwyn's #23) copy

      19· ·Exhibit 23· · 20. Health Solutions records, copy· ·163

      20· ·Exhibit 24· · 17. Highlands Ranch Behavioral· · · ·135
      · · · · · · · · · ·Health Copy
      21
      · · ·Exhibit 25· · 19. Mt. San Rafael records copy· · · 152
      22

      23· ·PREVIOUSLY MARKED EXHIBITS:· · · · · · · · · · · ·PAGE

      24· ·Exhibit 3· · ·22 Calendar Log (JCSD 00112-00119)· · 15

      25
Case No. 1:20-cv-00078-CMA-KAS Document 142-12 filed 10/20/23 USDC Colorado pg 4
                                     of 6



                                                                         Page 4
      ·1· · · · · INFORMATION REQUESTED:
      · · · · · · · · · · ·(None)
      ·2
      · · ·QUESTIONS INSTRUCTED NOT TO ANSWER:
      ·3· · · · · ·(Page 161, line 13)

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Case No. 1:20-cv-00078-CMA-KAS Document 142-12 filed 10/20/23 USDC Colorado pg 5
                                     of 6



                                                                         Page 5
      ·1· · · · · · ·THE VIDEOGRAPHER:· We are on the record at
      ·2· ·9:12 a.m. on March 29th, 2022.· We are here via Zoom
      ·3· ·for the video-recorded deposition of Anna
      ·4· ·Tankersley-Clark in the matter of A.C., as parent and
      ·5· ·next friend of minor S.T.C., versus Jefferson County
      ·6· ·R-1 School District, et al., in the United States
      ·7· ·District Court for the District of Colorado.· This is
      ·8· ·civil action number 1:20-cv-00078-CMA-SKC.
      ·9· · · · · · ·The videographer is Mark Rogers.· The court
      10· ·reporter is Kim Ritter of Hansen & Company Litigation
      11· ·Services.
      12· · · · · · ·Will counsel please state their appearances,
      13· ·beginning with Plaintiff's counsel.
      14· · · · · · ·MR. SCHWAB:· Milo Schwab on behalf of
      15· ·Plaintiff.· Appearing with me is Anna Tankersley-Clark.
      16· · · · · · ·MR. HOOD:· Elliott Hood on behalf of the
      17· ·School District, Jeff Gomez, and Tim Carlin.· My
      18· ·colleague, Gwyn Whalen, will be here on -- in spirit
      19· ·and on a screen, but she's not in the room with me.
      20· · · · · · ·THE VIDEOGRAPHER:· Will the court reporter
      21· ·please swear in the witness.
      22· · · · · · ·THE REPORTER:· Ms. Tankersley, would you
      23· ·raise your right hand for me.
      24· · · · · · ·Do you solemnly swear or affirm the testimony
      25· ·you're about to give today will be the truth, the whole
Case No. 1:20-cv-00078-CMA-KAS Document 142-12 filed 10/20/23 USDC Colorado pg 6
                                     of 6



                                                                        Page 41
      ·1· · · · Q.· ·And why would you contact the police after
      ·2· ·that meeting to tell them that Sarah had classes with
      ·3· ·Randy and Sebastian?
      ·4· · · · A.· ·My impression from the meeting was that the
      ·5· ·police were not doing their job to get the information
      ·6· ·so that we could get the restraining orders.
      ·7· · · · · · ·So I contacted Detective Johnson and yelled
      ·8· ·at her.
      ·9· · · · Q.· ·So your -- at that point you were frustrated
      10· ·that the police had not moved faster on the
      11· ·investigation, correct?
      12· · · · A.· ·Correct.
      13· · · · Q.· ·And you were frustrated that in your view
      14· ·because they hadn't done that, you couldn't get a
      15· ·restraining order, is that right?
      16· · · · A.· ·Correct.
      17· · · · Q.· ·And so you told that to Detective Johnson?
      18· · · · A.· ·Correct.
      19· · · · · · ·MR. HOOD:· All right.· So let me pull up
      20· ·another document here.
      21· · · · · · ·THE REPORTER:· Will this be Exhibit 15?
      22· · · · · · ·MR. HOOD:· Let me ensure that this is not
      23· ·already a -- yes.
      24· · · · · · ·THE REPORTER:· Thank you.
      25· · · · · · ·(Deposition Exhibit 15 was marked.)
